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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  MICHAEL JAY BRACKETT,

                    Petitioner,

  v.                                                         CIVIL ACTION NO.: 3: 15CV6
                                                             CRIMINAL ACTION NO.: 3: 08CR56
                                                             (JUDGE BAILEY)

  UNITED STATES OF AMERICA,

                    Respondent.


                                     REPORT AND RECOMMENTATION

                                             I.         INTRODUCTION

            On January 27, 2015, Michael Jay Brackett (“Petitioner”), proceeding pro se, filed a

  Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

  Custody (“Motion”). (Civil Action No. 3:15-cv-6, ECF No. 1; Criminal Action No. 3:08-cr-56,

  ECF No. 207). That same day, the Clerk of the Court mailed Petitioner a Notice of Deficient

  Pleading, which informed him he had twenty-one (21) days to correct his Motion by filing it on

  the correct form as per Local Rule of Prisoner Litigation Procedure 3.4. (ECF No. 210).1 Petitioner

  filed his correct form (“Court-Approved Motion”) on February 11, 2015. (ECF No. 212).

            The undersigned now issues this Report and Recommendation on Petitioner’s Motion

  without holding an evidentiary hearing. For the reasons stated below, the undersigned recommends

  that the District Judge deny and dismiss Petitioner’s Motion under 28 U.S.C. §2255.

                                                  II.    FACTS



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      From this point forward, all ECF numbers refer to Criminal Action No. 3:08-cr-56.


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  A.        Conviction and Sentence

            On July 9, 2008, a grand jury sitting in the Northern District of West Virginia returned an

  indictment against Petitioner and a co-defendant. (ECF No. 1). Petitioner was charged with

  conspiracy to possess and sell stolen firearms and a felon in possession of a firearm. (Id.). On

  October 7, 2008, Petitioner was found guilty of conspiracy to possess and sell stolen firearms and

  a felon in possession of a firearm. (ECF No. 72). On December 31, 2008, Petitioner filed a

  combined motion for a new trial and motion for judgment of acquittal notwithstanding the verdict

  of the jury. (ECF No. 97). On January 29, 2009, United States District Chief Judge John Preston

  Bailey (“Judge Bailey”) denied both motions. (ECF No. 106). On February 27, 2009, Judge Bailey

  sentenced Petitioner to prison for sixty (60) months and three years of supervised release for his

  conviction for conspiracy to possess and sell stolen firearms and 210 months and five years of

  supervised release for his conviction of a felon in possession of a firearm, with the sentences to be

  served concurrently. (ECF No. 117).

  B.        Direct Appeal

            On March 6, 2009, Petitioner filed a Notice of Appeal with the United States Court of

  Appeals for the Fourth Circuit (“Fourth Circuit”). (ECF No. 120). On April 12, 2010, the Fourth

  Circuit issued an unpublished per curiam opinion affirming the conviction and sentence of

  Petitioner. (ECF No. 135). Petitioner did not file a Petition for a Writ of Certiorari.

  C.        Petitioner’s First Federal Habeas Corpus2

            On April 11, 2011, Petitioner, by counsel, filed a Motion to Vacate his sentence under 28

  U.S.C. § 2255. (ECF No. 139) In that motion, Petitioner alleged nine claims of ineffective

  assistance of counsel. Thereafter, Petitioner filed a pro se motion alleging an additional five claims


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      For a complete history, including the precise claims raised, see ECF No. 152.


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  of ineffective assistance of counsel. (ECF No. 143). On November 15, 2011, United States

  Magistrate Judge David J. Joel (“Magistrate Judge Joel”) issued a Report & Recommendation

  (“R&R”) recommending that Petitioner’s § 2255 motion (ECF No. 139) be denied and dismissed.

  Magistrate Judge Joel further recommended that Petitioner’s pro se motion (ECF No. 143) be

  denied in part and severed in part. More specifically, Magistrate Judge Joel recommended that the

  first four claims of Petitioner’s pro se motion be denied because he failed to demonstrate any claims


  of ineffective assistance of counsel, but that his fifth claim be severed because of an apparent

  conflict of interest. (ECF No. 152). On January 26, 2012, after a thorough review of the record,

  Judge Bailey adopted the findings of the R&R and held that the § 2255 petition prepared by counsel

  and the first four claims contained in the pro se motion were denied and dismissed with prejudice,

  and the fifth pro se claim was severed pending a further recommendation by Magistrate Judge

  Joel. (ECF No. 158). Thereafter, on April 16, 2012, after the severed claim had been fully briefed,

  Magistrate Judge Joel issued a Report and Recommendation which recommended dismissing said

  claim. (ECF No. 171). On June 7, 2012, Judge Bailey adopted the Report and Recommendation,

  dismissed the severed claim and denied Petitioner a certificate of appealability. (ECF No. 177).

         On August 8, 2012, Petitioner nevertheless filed an appeal with the Fourth Circuit. (ECF

  No. 180). On August 29, 2013, the Fourth Circuit denied Petitioner a certificate of appealability

  and dismissed the appeal after finding that he had failed to make the requisite showing for a

  certificate to issue. (ECF No. 197).

  D.     Petitioners’ Second Federal Habeas Corpus

         In the instant action, Petitioner admits that he was convicted of violating 18 U.S.C. Section

  922(j) and 18 U.S.C. Sections 922(g)(1), 924(a)(2), and 924(e)(1). (ECF No. 207). However,

  Petitioner asserts that Judge Bailey improperly enhanced his sentence by utilizing 18 U.S.C. §



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  924(e), the Armed Career Criminal Act (“ACCA”) which, he argues, violates the holding in

  Descamps v. United States, 133 S. Ct. 2276.3 (Id.). Further, Petitioner asserts that his counsel failed

  to object to the improper enhancement at the sentencing hearing. (Id.). For relief, Petitioner

  requests that he be re-sentenced.

                                              III.     Analysis

          Regarding a second or successive federal habeas corpus, 28 U.S.C. § 2255 states:

              A second or successive motion must be certified as provided in section 2244 by
              a panel of the appropriate court of appeals to contain—

              (1) newly discovered evidence that, if proven and viewed in light of the
              evidence as a whole, would be sufficient to establish by clear and convincing
              evidence that no reasonable factfinder would have found the movant guilty of
              the offense; or

              (2) a new rule of constitutional law, made retroactive to cases on collateral
              review by the Supreme Court, that was previously unavailable.

          In order for a petition to be considered successive, the first petition must have been

  considered on the merits. Harvey v. Horan, 278 F.3d 370 (4th Cir. 2002). Here Petitioner’s first §

  2255 was dismissed on the merits by Judge Bailey on January 26, 2012, (ECF No. 158) and June

  7, 2012. (ECF No. 177). Thus, the undersigned finds that the current § 2255 motion is a second

  or successive motion and that Petitioner did not obtain authorization from the Fourth Circuit to file

  a successive § 2255 motion.4 Accordingly, pursuant to 28 U.S.C. § 2244 and 28 U.S.C. § 2255,


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    Descamps is a 2013 ruling by the United States Supreme Court that California’s burglary statute was not
  a divisible statute, meaning courts were not free to look at the facts behind the convictions and make a
  determination as to whether it is a violent crime. 133 S. Ct. 2281-82. More specifically, the Court found
  that when a statute is not divisible between violent and nonviolent crimes the reviewing court must
  simply use the categorical approach to determine whether the conviction qualifies for the Armed Career
  Criminal Act. (Id. at 2286). In Descamps, the Court found that California’s burglary statute was too
  broad to fit the normal or traditional definition of burglary and therefore, could not qualify as an offense
  under the Armed Career Criminal Act. (Id. at 2285-86).
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   It would appear that Petitioner is aware of this requirement, as he previously sought permission from the
  Fourth Circuit under 28 U.S.C. § 2244 for an order authorizing the district court to consider a second or



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  this Court is without authority to hear Petitioner’s second federal habeas petition. See United States

  v. Winestock 340 F.3d 200, 207 (4th Cir. 2003).

          The undersigned is mindful that Petitioner has argued equitable tolling. In doing so, it

  appears that Petitioner has confused the concept of timeliness with that of a second or successive

  application under § 2255. However, as more fully explained below, even if Petitioner had not filed

  a first § 2255, his current petition would be untimely despite the ruling in Descamps.

          In 1996, the Anti-Terrorism and Effective Death Penalty Act of 1996 (“AEDPA”) was

  enacted, establishing a one-year limitation period within which to file any federal habeas corpus

  motion. 28 U.S.C. § 2255.

          The limitation period shall run from the last of:

          1.      The date on which the judgment of conviction becomes final;

          2.      The date on which the impediment to making a motion created by
                  governmental action in violation of the Constitution or laws of the United
                  States is removed, if the movant was prevented from making a motion by
                  such governmental action;

          3.      The date on which the right was initially recognized by the Supreme Court,
                  if that right has been newly recognized by the Supreme Court and made
                  retroactively applicable to cases on collateral review;5 or

          4.      The date on which the facts supporting the claim or claims presented could
                  have been discovered through the exercise of due diligence.

  28 U.S.C. § 2255(f).

          In general, to satisfy the statute of limitations, a petitioner must have filed his motion within

  one year from “the date on which [his] judgment of conviction bec[ame] final.” 28 U.S.C. §


  successive application for relief under 28 U.S.C. § 2255. That request was denied on July 31, 2012. (ECF.
  No. 179).
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    The one-year statute of limitation period under this subsection runs from the date on which the Supreme
  Court initially recognized the right asserted, not from the date on which the right asserted was made
  retroactive. Dodd v. United States, 545 U.S. 353 (2005).


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  2255(f)(1). The Fourth Circuit has determined that a federal prisoner’s conviction becomes final

  on the date upon which he fails to pursue further direct appellate review of his conviction. United

  States v. Sanders, 247 F.3d 139, 142 (4th Cir. 2001). Petitioner’s appeal was denied on April 12,

  2010. Therefore, because he did not pursue a writ of certiorari, his conviction became “final”

  pursuant to § 2255(f)(1) on July 12, 2010. See Supreme Ct. Rule 13.3; Clay v. United States, 537

  U.S. 522, 523 (2003). Accordingly, Petitioner had until July 12, 2011, to file his § 2255 motion,

  but his instant motion was not filed until January 27, 2015. Because Petitioner filed his motion

  after the one-year statute of limitations ran, the undersigned finds that the motion would be

  untimely under § 2255(f)(1) even if it were his first § 2255 motion.

         However, the Fourth Circuit has held that the AEDPA statute of limitations is subject to

  equitable modifications such as tolling. United States v. Prescott, 221 F.3d 686, 687-88 (4th Cir.

  2000). Nonetheless, “rarely will circumstances warrant equitable tolling.” Rouse v. Lee, 339 F.3d

  238, 246 (4th Cir. 2003). In order to be entitled to equitable tolling, the petitioner bears the burden

  of presenting evidence which shows that he was prevented from timely filing his § 2255 petition

  because of circumstances beyond his control, or external to his own conduct, and that it would be

  unconscionable, or that a gross injustice would occur, if the limitation were enforced. Harris v.

  Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). To make such a showing, petitioner must also

  show that he employed reasonable diligence in investigating and bringing his claims. Miller v.

  New Jersey State Department of Corrections, 145 F.3d 616, 617 (3rd Cir. 1998).

         In this case, Petitioner alleges that he is entitled to equitable tolling in light of the Descamps

  decision. In effect, Petitioner is actually arguing that his § 2255 motion is timely pursuant to 28

  U.S.C. § 2255(f)(3). The undersigned finds that this section does not apply because several circuits

  have noted that Descamps is not retroactively applicable to cases on collateral reviews. See, e.g.,




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  Groves v. United States, 755 F.3d 588, 593 (7th Cir. 2014); Wilson v. Warden, FCC Coleman, 581

  F. App’x 750, 753 (11th Cir. 2014); Baker v. Chapa, 578 F. App’x 464, 465 (5th Cir. 2014) (per

  curiam); United States v. Montes, 570 F. App’x 830, 831 (10th Cir. 2014); United States v.

  Tenderholt, No. 14-8051, 2014 WL 7146025, at *1-2 (10th Cir. Dec. 16, 2014). As the Tenth

  Circuit has stated, “[t]he Descamps opinion simply applied existing doctrine.” Montes, 570 F.

  App’x at 831. At least two district courts within the Fourth Circuit have held that Descamps is not

  retroactively applicable. See Baker v. Zych, No. 7:13-cv-00512, 2014 WL 1875114, at *2 (W.D.

  Va. May 9, 2014); Randolph v. United States, Nos. CCB-13-1227, CCB-09-0244, 2013 WL

  5960881, at *1 (D. Md. Nov. 6, 2013) (“The Supreme Court has not, however, indicated that

  Descamps applies retroactively to cases on collateral appeal, and this court is not aware of any

  circuit court opinion so holding.”). Other district courts around the country have agreed.

  See United States v. Mitchell, Nos. 3:03cr57/LC/CJK, 3:14cv313/LC/CJK, 2014 WL 3720582, at

  *2 n.3 (N.D. Fla. July 28, 2014) (collecting cases). Accordingly, because Descamps does not apply

  retroactively, Petitioner could not rely upon that decision to render his current motion timely under

  § 2255(f)(3).

                                          IV.     Recommendation

         For the foregoing reasons, the undersigned recommends that Petitioner’s Motion under 28

  U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (Civil

  Action No. 3:15-cv-6, ECF No. 1; Criminal Action No. 3:08-cr-56, ECF No. 207) be DENIED

  and DISMISSED with prejudice as an unauthorized second or successive petition.

         Within fourteen (14) days after being served with a copy of this Recommendation, any

  party may file with the Clerk written objections identifying the portions of the Recommendation

  to which the objections are made and the basis for such objections. A copy of such objections shall




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  also be submitted to the Honorable John Preston Bailey, United States District Judge. Failure to

  timely file objections to the Recommendations set forth above will result in the waiver of the right

  to appeal from a judgment of this Court based upon such Recommendation. 28 U.S.C. § 636(b)(1);

  Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985): United

  States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

           The Court directs the Clerk of the Court to provide a copy of this Report and

  Recommendation to all counsel of record as provided in the Administrative Procedures for

  Electronic Case Filing in the United States District Court for the Northern District of West

  Virginia. The Court further directs the Clerk of the Court to mail a copy of this Report and

  Recommendation to the pro se Petitioner Michael Jay Brackett, by certified mail, return receipt

  requested, to his last known address as reflected on the docket sheet.

           DATED: July 1, 2015




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